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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


UNITED STATES OF AMERICA,

                       Plaintiff,                       NOTICE
v.                                                      Case No. 2:17-cr-151(1)
                                                        CHIEF JUDGE SARGUS, JR.
SALIM DAHDAH,

                        Defendant.


        TAKE NOTICE that a proceeding in this case has been set for the place, date, and time
set forth below:

Place: United States District Court             COURTROOM #2
       Joseph P. Kinneary U.S. Courthouse
       85 Marconi Boulevard                     November 8, 2018 at 2:30 P.M.
       Columbus, Ohio 43215

TYPE OF PROCEEDING: CHANGE OF PLEA

If Defendant is on bond, it is the responsibility of counsel to notify the defendant of the
hearing, date, location and time.




                                          EDMUND A. SARGUS, JR.
                                          UNITED STATES CHIEF DISTRICT JUDGE
DATE: October 18, 2018

                                             /s / Christin M. Werner
                                          (By) Christin M. Werner, Deputy Clerk
